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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

Lutwione A. Robinson (20221103091),                )
                                                   )
                       Plaintiff,                  )
                                                   )           Case No. 23 C 0599
               v.                                  )
                                                   )           Judge John J. Tharp, Jr.
Tom J. Dart, et al.,                               )
                                                   )
                       Defendants.                 )

                                               ORDER

        Plaintiff’s application for leave to proceed in forma pauperis [3] is denied. If Plaintiff wants
to proceed with this lawsuit, he must pay the $402 filing fee. If Plaintiff does not comply by March
31, 2023, this case will be summarily dismissed.

                                           STATEMENT

       Plaintiff Lutwione Robinson, a detainee at the Cook County Jail, brings this action pro se
under 42 U.S.C. § 1983. Presently before the Court is Plaintiff’s application to proceed in forma
pauperis (IFP).

        The Prison Litigation Reform Act requires all inmates to pay the full filing fee. See 28
U.S.C. § 1915(b)(1). If an inmate cannot pay the full $402 filing fee upfront, he may submit an
IFP application (in other words, a request for permission to pay the fee over time with monthly
installments taken from his trust fund account; in that instance, the filing fee is $350 as an
administrative fee is waived).

       Here, the Court determines that Plaintiff may not proceed in forma pauperis based on the
information provided. Plaintiff’s trust fund statement indicates that he had average monthly
deposits of $237.50 over the last four months. This includes a $600 deposit in November of 2022,
more than enough funds to pay the filing fee.

         Because Plaintiff is a prisoner for whom the state provides the necessities of life, his assets
demonstrate that he does not qualify as indigent. See Lumbert v. Illinois Department of
Corrections, 827 F.2d 257, 260 (7th Cir. 1987); Zaun v. Dobbin, 628 F.2d 990, 993 (7th Cir. 1980).
This is the case even though Plaintiff elected to spend most of his income on personal items. See
Newlin v. Helman, 123 F.3d 429, 435 (7th Cir. 1997) (noting that a prisoner who “squander[s]” all
his assets has the “means” to pay and is not protected by 28 U.S.C. § 1915(b)(4)), overruled in
part on other grounds by Lee v. Clinton, 209 F.3d 1025, 1026-27 (7th Cir. 2000); see also Sanders
v. Melvin, 873 F.3d 957, 960 (7th Cir. 2017) (noting that a prisoner “can save up . . . and pay the
filing fee”).
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       Because Plaintiff does not financially qualify to pay the filing fee in installments, he must
prepay the full $402 statutory filing fee if he wishes to proceed with this action. Plaintiff may pay
by check or money order made payable to Clerk of Court and mailed to the Clerk of Court, United
States District Court, 219 South Dearborn Street, Chicago, Illinois 60604, attn: Cashier’s Desk,
20th Floor. Plaintiff’s failure to do so by the date specified above will result in the summary
dismissal of this lawsuit.



Date: 2/2/2023                                /s/ John J. Tharp, Jr.
                                              John J. Tharp, Jr.
                                              United States District Judge
